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                       I.      MISREPRESENTATION CLAIMS

A.   MISREP – ASSETS: The amount and/or source of the borrower’s assets at origination
     and/or other information concerning the borrower’s assets was misrepresented, which
     misrepresentation formed the basis of Defendants’ breach.

B.   MISREP – BORROWER: The identity of the borrower, information concerning the
     identity of the borrower, and/or information concerning interested parties’ relationship to
     the borrower was misrepresented at origination, which misrepresentation formed the basis
     of Defendants’ breach.

C.   MISREP – CREDIT/FICO: Information related to the borrower’s credit and/or
     creditworthiness at origination was misrepresented, which misrepresentation formed the
     basis of Defendants’ breach.

D.   MISREP – DEBTS: One or more debts opened by the borrower prior to close of the subject
     transaction and/or sale of the subject loan were undisclosed/misrepresented at origination,
     which non-disclosure/misrepresentation formed the basis of Defendants’ breach.

E.   MISREP – IDENTITY THEFT: The identity of the borrower at origination was
     misrepresented as that of someone else, which misrepresentation formed the basis of
     Defendants’ breach.

F.   MISREP – INCOME/EMPLOY: The borrower’s income at origination and/or information
     concerning his/her employment at origination was omitted/misrepresented, which
     omission/misrepresentation formed the basis of Defendants’ breach.

G.   MISREP – NAL OMISSION: A non-arms-length/interested party relationship was
     omitted/misrepresented at origination, which omission/misrepresentation formed the basis
     of Defendants’ breach.

H.   MISREP – OCCUPANCY: The borrower’s intention about the occupancy of the subject
     property was misrepresented at origination, which misrepresentation formed the basis of
     Defendants’ breach, or the borrower failed to satisfy the occupancy covenants set forth in
     the applicable security instrument.

I.   MISREP – OTHER: Information related to the borrower or subject transaction was
     misrepresented at origination, which misrepresentation formed the basis of Defendants’
     breach.

J.   MISREP – VALUE: The origination appraisal misrepresented the value of the subject
     property and/or violated one or more underwriting, Uniform Standards of Professional
     Appraisal Practice, or other requirements, which misrepresentation/violation formed the
     basis of Defendants’ breach.



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K.   MISREP – VOR: Information related to the borrower’s rental and/or rental payment history
     was omitted/misrepresented at origination, which omission/misrepresentation formed the
     basis of Defendants’ breach.




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                       II.     UNDERWRITING CLAIMS

A.   UW – APPRAISAL: The origination appraisal violated one or more underwriting,Uniform
     Standards of Professional Appraisal Practice, or other requirements, which violation
     formed the basis of Defendants’ breach.

B.   UW – ASSETS: The subject transaction violated one or more underwriting or other
     requirements concerning verification of the borrower’s assets and/or other information
     related to the borrower’s assets, which violation formed the basis of Defendants’ breach.

C.   UW – CONTRIBUTIONS/CONCESSIONS: The subject transaction violated one or more
     underwriting or other requirements concerning costs paid by the seller or an interested third
     party, which violation formed the basis of Defendants’ breach.

D.   UW – CREDIT/BANKRUPTCY: The subject transaction violated one or more
     underwriting or other requirements concerning analysis of the borrower’s credit,
     creditworthiness, and/or other information related to the borrower’s credit, including but
     not limited to a prior or existing bankruptcy, which violation formed the basis of
     Defendants’ breach.

E.   UW – CREDIT/FICO: The subject transaction violated one or more underwriting or other
     requirements concerning analysis of the borrower’s credit, creditworthiness, and/or other
     information related to the borrower’s credit, which violation formed the basis of
     Defendants’ breach.

F.   UW – DATA ERRORS: The subject transaction violated one or more underwriting or other
     requirements concerning the use of an automated underwriting system, which violation
     formed the basis of Defendants’ breach.

G.   UW – DEBT DISCLOSURE: The subject transaction violated one or more underwriting
     or other requirements concerning the borrower’s outstanding debt, which violation formed
     the basis of Defendants’ breach.

H.   UW – DOCUMENTATION/ASSETS: The subject transaction violated one or more
     underwriting or other requirements concerning verification of the borrower’s assets and/or
     other information related to the borrower’s assets, and/or verification of the borrower’s
     rental and/or rental payment history, which violation formed the basis of Defendants’
     breach.

I.   UW – DOWN PAYMENT: The subject transaction violated one or more underwriting or
     other requirements concerning the borrower’s minimum down payment obligation, which
     violation formed the basis of Defendants’ breach.

J.   UW – ESCROW: The subject transaction violated one or more underwriting or other
     requirements concerning escrow accounts and/or escrow holdbacks, which violation
     formed the basis of Defendants’ breach.

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K.   UW – EXCESSIVE CASH OUT: The subject transaction violated one or more
     underwriting or other requirements concerning the permissible amount of cash-out for the
     subject transaction, which violation formed the basis of Defendants’ breach.

L.   UW – FAILURE TO ADDRESS POTENTIAL MISREPRESENTATIONS: The subject
     transaction violated one or more underwriting or other requirements concerning
     misrepresentations about the occupancy of the subject property, which violation formed
     the basis of Defendants’ breach.

M.   UW – FLIP TRANSACTIONS: The subject transaction violated one or more underwriting
     or other requirements concerning ineligible property/land flip transactions, which violation
     formed the basis of Defendants’ breach.

N.   UW – INCOME/EMPLOY: The subject transaction violated one or more underwriting or
     other requirements concerning verification of the borrower’s employment and/or income
     and/or the reasonableness of the borrower’s ability to repay the mortgage debt, which
     violation formed the basis of Defendants’ breach.

O.   UW – INCOME/RATIOS: The subject transaction violated one or more underwriting or
     other requirements concerning analysis of the borrower’s rental income, and/or ratio and/or
     qualifying guidelines, which violation formed the basis of Defendants’ breach.

P.   UW – INCONSISTENT LOAN APPLICATIONS: The subject transaction violated one or
     more underwriting or other requirements concerning verification of inconsistent
     information between the borrower’s loan applications and/or the reasonableness of the
     borrower’s ability to repay the mortgage debt, which violation formed the basis of
     Defendants’ breach.

Q.   UW – INELIGIBLE INSTRUMENT: The subject transaction violated one or more
     underwriting requirements concerning the information disclosed on the note, which
     violation formed the basis of Defendants’ breach.

R.   UW – INSUFFICIENT ASSETS/RESERVES: The subject transaction violated one or
     more underwriting or other requirements concerning required asset and/or reserve
     amounts, which violation formed the basis of Defendants’ breach.

S.   UW – INVESMENT PROPERTIES: The subject transaction violated one or more
     underwriting or other requirements concerning non-owner occupied/investment properties,
     which violation formed the basis of Defendants’ breach.

T.   UW – LACK OF NECESSARY INSURANCE: The subject transaction violated one or
     more underwriting or other requirements concerning required private mortgage and/or other
     mandated insurance coverage, which violation formed the basis of Defendants’ breach.

U.   UW – LIEN POSITION: The subject transaction violated one or more underwriting or
     other requirements related to the lien position of the subject transaction, which violation
     formed the basis of Defendants’ breach.


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V.    UW – MISSING DOCUMENTS: The subject transaction violated one or more
      underwriting or other requirements concerning necessary or required documentation
      related to the subject transaction, which violation formed the basis of Defendants’ breach.

W.    UW – NAL TRANSACTION: The subject transaction violated one or more underwriting
      requirements concerning non-arms-length/interested party transactions, which violation
      formed the basis of Defendants’ breach.

X.    UW – NON WARRANTABLE CONDOMINIUM: The subject transaction violated one
      or more underwriting or other requirements concerning the financing/acceptability of
      condominium projects, which violation formed the basis of Defendants’ breach.

Y.    UW – PAYMENT SHOCK: In violation of applicable underwriting or other requirements
      the subject transaction resulted in signification payment shock (the payment for the subject
      transaction more than doubled the borrower’s existing rental or mortgage payment), which
      violation formed the basis of Defendants’ breach.

Z.    UW – PROPERTY: The subject transaction violated one or more underwriting or other
      requirements concerning verification of the type and/or classification of the subject
      property, which violation formed the basis of Defendants’ breach.

AA.   UW – POINTS/FEES: The subject transaction violated one or more underwriting or other
      requirements concerning the points and fees paid by the borrower, which violation formed
      the basis of Defendants’ breach.

BB.   UW – RATIOS or EXCESSIVE DTI: The subject transaction violated one or more
      underwriting or other requirements concerning ratio and/or qualifying guidelines, which
      violation formed the basis of Defendants’ breach.

CC.   UW – RESIDENCY: The subject transaction violated one or more underwriting or other
      requirements concerning the borrower’s residency, which violation formed the basis of
      Defendants’ breach.

DD.   UW – STRAW TRANSACTION: The subject transaction violated one or more
      underwriting or other requirements related to ineligible straw borrower/straw buyer
      transactions, which violation formed the basis of Defendants’ breach.

EE.   UW – TITLE: The subject transaction violated one or more underwriting or other
      requirements related to the property title and/or lien position of the subject transaction,
      which violation formed the basis of Defendants’ breach.

FF.   UW – INELIGIBLE FOR LOAN PROGRAM: The subject transaction violated one or
      more underwriting or other requirements, which violation formed the basis of Defendants’
      breach.

GG.   UW – OTHER: The subject transaction violated one or more underwriting or other
      requirements.


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                                     III.   OTHER

A.   COLLATERAL: The origination appraisal violated applicable underwriting, Uniform
     Standards of Professional Appraisal Practice, or other requirements, which violation
     formed the basis of Defendants’ breach.

B.   DOCUMENTATION: Necessary or required documentation concerning the subject
     transaction was missing, unverified, or otherwise inadequate, and Defendants’ failure to
     obtain, verify, or otherwise ensure the adequacy of documentation concerning the subject
     transaction formed the basis of Defendants’ breach.

C.   IDENTITY THEFT: The borrower’s identity at origination was that of someone else,
     which misinformation formed the basis of Defendants’ breach.

D.   MI RESCISSION: Facts and/or events concerning the subject loan transaction resulted in
     the denial of liability or rescission of coverage by a mortgage insurer, which
     denial/rescission formed the basis of Defendants’ breach.

E.   MISSING VVOE: Necessary or required documentation concerning the verbal verification
     of the borrower’s employment was missing, unverified, or otherwise inadequate, and
     Defendants’ failure to obtain, verify, or otherwise ensure the adequacy of documentation
     concerning the verbal verification of borrower’s employment formed the basis of
     Defendants’ breach.

F.   OTHER: The subject transaction was a breach of the Agreements for a reason that does not
     fit into one of the proceeding categories.




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